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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
       Plaintiff,                     )     4:08CR3173
                                      )
       v.                             )
                                      )       ORDER
JOHN S. CISNEROS,                     )
                                      )
       Defendant.                     )


       IT IS ORDERED,

       Defendant’s motion to continue, filing no. 41, is granted
and,

     1. Trial of this matter is continued to 9:00 a.m.,
March 23, 2009 before the Honorable Warren K. Urbom in Courtroom
4, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. Jury selection will be held at
commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between February
18, 2009 and March 23, 2009 shall be deemed excludable time in
any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

       Dated February 18, 2009.

                                     BY THE COURT


                                     s/David L. Piester
                                     David L. Piester
                                     United States Magistrate Judge
